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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION


                                                          )
                                                          )
SYLVIA L. JIBSON,                                         )    Case No. 18 cv
                                                          )
                                                          )
                Plaintiff                                 )    Judge
                                                          )
                                                          )    Magistrate:
                            V.                            )
                                                          )
THE NORTHEAST ILLINOIS REGIONAL COMMUTER                  )    Jury Trial Demand
RAILROAD CORPORATION d/b/a METRA,                         )
                                                          )
                                                          )
             Defendant.                                   )

                                            COMPLAINT


COMES NOW, SYLVIA L. JIBSON, the Plaintiff, by and through her undersigned counsel and
hereby files this Complaint for employment as an electrician foreman restoration, back pay, and
compensatory damages against the above-named Defendant, THE NORTHEAST ILLINOIS
REGIONAL COMMUTER RAILROAD CORPORATION d/b/a METRA. Plaintiff alleges that
Defendant has engaged in a pattern and practice of employment discrimination against her under
color of law based on her sex and age, along with retaliation against her for her engagement in
federally protected activity in violation of the Civil Rights Act of 1866, 42 U.S. C. § 1983, as
amended (hereinafter “Section 1983”); Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. §2000 et seq. (“Title VII”) and the Age Discrimination in Employment Act of 1967, as
amended (“ADEA”).


                                     JURISDICTION AND VENUE



   1. Plaintiff is alleging violations of her civil rights under the federal statutes of Title VII;

       Section 1983 and ADEA.

   2. Jurisdiction is specifically conferred on this Court pursuant to 28 U.S.C. § 1331 and

       §1343.




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3. Venue is proper in the Northern District of Illinois, Eastern Division, pursuant to 28

   U.S.C. § 1391(b) in that the employment practices alleged to be unlawful were

   committed within the Northern District of Illinois.

                                            PARTIES

4. Plaintiff is a 66-year-old African-American female currently employed by Defendant,

   METRA as an electrician.

5. Defendant, The Northeast Illinois Regional Commuter Railway Corporation d/b/a

   METRA, is a public corporation of the State of Illinois authorized by statute and created

   by Regional Transportation Authority ordinance in 1983.




                                I.      NATURE OF THE CLAIM



6. Plaintiff, JIBSON, seeks back pay, restoration to her Mechanical Foreman position or a

   comparable position in addition to compensatory damages stemming from her demotion

   on November 30, 2017 from the Mechanical Foreman position to her prior position as an

   Electrician.

7. Defendant deprived Plaintiff of rights accorded to her under the laws of the United States

   resulting from acts and/or omissions of the Defendant that constitute the following causes

   of actions: (a) sex discrimination; (b) age discrimination; (c) retaliation for engaging in

   protected activity; (d) disparate treatment, (e) intentional infliction of emotional harm,

   and (f) engaging in a pattern and practice of employment discrimination against her in

   violation of Section 1983; Title VII and ADEA.


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8. Plaintiff filed Charge #440-2016-CR 3465 with the Chicago office of Illinois Department

   of Human Rights (the “IDHR”) on March 3, 2016 (See Exhibit A, attached hereto.)

9. Plaintiff subsequently filed Charge # 440-2018-01433 with the Chicago office of the

   EEOC on February 7, 2018. (see Exhibit B, attached hereto.)

10. Plaintiff was granted a Right to Sue on May 17, 2018 which was received by counsel on

   May 19, 2018. (See Exhibit C, attached hereto.) The filing deadline is August 17, 2018.

   This action is timely filed.


                   II. FACTUAL ALLEGATIONS OF DISCRIMINATION
                              BY PLAINTIFF



11. Plaintiff was hired by Defendant on or about May 19, 2008 as an experienced,

   journeyman electrician in the Mechanical Department.

12. Plaintiff states that she applied unsuccessfully to several posted supervisory positions as

   well as a General Foreman position.

13. Plaintiff states that less tenured, less experienced and younger male employees were

   promoted into these positions.

14. Plaintiff registered her complaints with Metra EEO (Countess Cary) and the IBEW

   electricians’ union, but ultimately concluded that she needed to file with the IDHR about

   her difficulty obtaining a promotion to which she felt more qualified than the candidates

   selected.

15. Plaintiff states that, as a result of her complaints, she began to be subjected to a pattern of

   harassing and condescending behavior by Art Olsen (white male), who at that time was




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   Director, Metra Rock Island District Mechanical (now retired), Plaintiff’s immediate

   supervisor.

16. Plaintiff filed her IDHR Charge on March 3, 2016 alleging sex and age discrimination

   and lack of fair access to promotional opportunities.

17. In the midst of the IDHR Investigation, Plaintiff was promoted to Mechanical Foreman

   on August 19, 2017.

18. Plaintiff became only the second female Foreman joining a more senior, longer tenured

   bi-racial female.

19. Plaintiff states that soon after her promotion she was subjected to a heightened pattern of

   harassing and condescending behavior by Art Olsen.

20. Plaintiff states that she was denied the training for the new position typically offered to

   other newly promoted foremen, typically male. (See Exhibit D, attached hereto.)

21. Plaintiff states that she asked Olsen if he had been instrumental in her obtaining the

   promotion.

22. He indicated that he had not.

23. Plaintiff indicates that Olsen frequently criticized her job performance, but did not give

   instructions to other foremen to help acclimatize her to the new responsibilities.

24. Mr. Olsen called Plaintiff daily on her shift between 4:00 a.m. and 4:30 a.m. to get a

   work status and to be sure trains were ready to leave on time for the morning rush hour.

25. Plaintiff thought that he contrived issues, then required that she provide a written

   statement, before she left the job at 2:30 p.m., describing the matter and her perception of

   how it was, or perhaps should have been, handled.




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26. When she sought to discuss work-related issues with Olsen, he often responded that he

   “didn’t want to hear about it”.

27. Plaintiff states that she strongly suspected that Olsen was unhappy with her promotion

   and would probably sabotage her successful completion of the 90-day probationary

   period given to a newly promoted foreman.

28. On September 19, 2017, Plaintiff gave a Laborer, Cornell Stampley, a written conference

   for his August 25, 2017 absenteeism.

29. On November 28, 2017 Plaintiff had additional performance issues with Stampley which

   she described in an email to Messrs. Olsen and Shawn Brown. (See Exhibit E, attached

   hereto.)

30. Mr. Stampley told her he would talk to Shawn Brown and she would be out of a job

   because she was causing him undue stress and he had already suffered one heart attack

   since working for Defendant.

31. When Plaintiff spoke to Mr. Olsen about her performance concerns about Mr. Stampley,

   he replied, “we’ll take care of it”.
                              th
32. The very next day, her 77 day of probation, on November 29, 2017 just as she surmised,

   she was demoted from her foreman position alleging she had performance deficiencies.

   (See Exhibit F, attached hereto.)

33. Her replacement was a significantly younger (late 30s or early 40s, she believes) less

   tenured (about 4 years with Defendant) and less experienced African-American female

   electrician who was carefully groomed and trained after her promotion to the new

   position in a way that Plaintiff had not been.




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34. Plaintiff states that it was widely rumored among the other electricians that Plaintiff had

   been treated unfairly and sabotaged by Mr. Olsen in her position as a Mechanical

   Foreman.

35. Plaintiff believes that her replacement with another African-American female was only a

   thinly veiled effort to mask the truly retaliatory behavior of the Defendant.

36. Plaintiff felt her role as a manager was also being undercut by responding to the

   discipline of the male Laborer by removing her from a managerial position

37. The majority of the people she managed were younger males.

38. Plaintiff states that Defendant has only 2 women electricians in supervisory positions,

   including the woman who replaced her as a foreman.

39. Plaintiff therefore lags significantly behind in pay and promotional status from a number

   of less tenured, experienced, credentialed and younger male electricians and now a

   younger female Defendant electrician.

40. Plaintiff has observed a pattern of discriminatory action directed against other African-

   American electricians and believes that her advocacy on her own behalf has resulted in

   the targeted retaliatory behavior directed towards her, including the demotion with its

   reduction in pay.

41. Plaintiff has experienced a hostile, harassing and retaliatory work environment because of

   her complaints to the IDHR, EEOC, IBEW and Defendant EEO

                                 III. CLAIMS FOR RELIEF

                                         COUNT I

                 SEX DISCRIMINATION /HARASSMENT IN VIOLATION OF

                        TITLE VII OF THE CIVIL RIGHTS ACT OF 1964


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42. Plaintiff adopts by reference and incorporates paragraphs 6 through 41 as if fully set forth

    herein.

43. That as an employer within the meaning of Title VII, the Defendant owed at all times a

    duty to Plaintiff not to harass and/or discriminate against her with respect to employment

    or other conditions or privileges of employment due to her gender.


44. Plaintiff is an African-American female over the age of 60 and is a member of 3

    protected classes entitled to that protection afforded by Title VII.

45. At all times pertinent hereto, Plaintiff was an excellent and dedicated employee, as

    consistently evidenced by her performance reviews, highly proficient and in all respects

    acted in the best interests of her employer.

46. That the sex of the Plaintiff was not a term, requirement or condition of employment with

    Defendant, and Plaintiff’s sex did not in any way affect her job performance.

47. That during Plaintiff’s tenure of employment, she was victimized by the Defendant

    and/or its agents and employees in the following manner:

        a. Subjected to harassment and retaliation due to her sex, which was condoned by

              the Defendant and

        b. Subjected to a harassing, retaliatory and hostile employment environment.

48. That all of the aforesaid conduct was made known to and complained of to supervisory

    personnel of the Defendant herein by the Plaintiff.

49. That, despite said complaints, such conduct continued unfettered and no effort was made

    by management or agents of the Defendant, to curtail or otherwise curb and prevent such

    discriminatory conduct.

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50. The conduct by the Defendant’s employees had the purpose and/or effect of substantially

    interfering with the Plaintiff’s employment and/or creating a hostile and offensive

    employment environment.

51. Defendant had both actual and constructive notice that its employees were creating a

    hostile and offensive work environment for the Plaintiff.

52. Despite having notice of the conduct of its employees and supervisory personnel toward

    the Plaintiff, Defendant failed to take any remedial action.

53. The conduct as set forth above by the Defendant’s employees and their failure to take

    remedial action for years constitutes a continuing violation of Title VII.

54. As Plaintiff relayed to the EEOC in her Charge, she perceived that, as an older African-

    American female bringing complaints about the misconduct of Defendant she was being

    ignored and retaliated against by Defendant.

55. Defendant has not articulated any legitimate business reason to ignore Plaintiff’s

    complaints.



                                        COUNT II

              SEX DISCRIMINATION/HARASSMENT IN VIOLATION

                              OF 42 U.S.C. SECTION 1983



56. Plaintiff adopts by reference and incorporates paragraphs 6 through 41 as if fully set forth

    herein.




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57. That as an employer within the meaning of 42 U.S.C. Section 1983, the Defendant owed

   at all times a duty to Plaintiff not to discriminate against her with respect to employment

   or other conditions or privileges of employment due to her age or gender.


58. Plaintiff is an African-American female over the age of 60 and is a member of 3

   protected classes entitled to that protection afforded by Section 1983.

59. At all times pertinent hereto, Plaintiff was an excellent and dedicated employee, as

   consistently evidenced by her performance reviews, highly proficient and in all respects

   acted in the best interests of her employer.

60. That the sex of the Plaintiff was not a term, requirement or condition of employment with

   Defendant, and Plaintiff’s sex did not in any way affect her job performance.

61. That during Plaintiff’s tenure of employment, she was victimized by the Defendant

   and/or its agents and employees in the following manner:

                   (a) Subjected to harassment and retaliation due to her sex, which was

                      condoned by the Defendant and

                   (b) Subjected to a harassing, retaliatory and hostile employment

                      environment. That all of the aforesaid conduct was made known to and

                      complained of to supervisory personnel of the Defendant herein by the

                      Plaintiff.

                   (c) That, despite said complaints, such conduct continued unfettered and

                      no effort was made by management or agents the Defendant, to curtail

                      or otherwise curb and prevent such discriminatory conduct.




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                   (d) The conduct by the Defendant’s employees had the purpose and/or

                       effect of substantially interfering with the Plaintiff’s employment

                       and/or creating a hostile and offensive employment

                       environment.

                   (e) Defendant had both actual and constructive notice that its employees

                       were creating a hostile and offensive work environment for the

                       Plaintiff.

                   (f) Despite having notice of the conduct of its employees and supervisory

                       personnel toward the Plaintiff, Defendant failed to take any remedial

                       action.

                   (g) The conduct as set forth above by the Defendant’s employees and their

                       failure to take remedial action for years violates Section 1983.



                                       COUNT III

                   DISCRIMINATION IN VIOLATION OF ADEA

62. Plaintiff adopts by reference and incorporates paragraphs 6 through 41 as if fully set forth

    herein.

63. That as an employer within the meaning of the ADEA, the Defendant owed at all times a

    duty to Plaintiff not to harass and/or discriminate against her with respect to employment

    or other conditions or privileges of employment due to her age.


64. Plaintiff is an African-American female over the age of 60 and is a member of 3

    protected classes entitled to that protection afforded by the ADEA.



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65. At all times pertinent hereto, Plaintiff was an excellent and dedicated employee, as

    consistently evidenced by her performance reviews, highly proficient and in all respects

    acted in the best interests of her employer.

66. That the age of the Plaintiff was not a term, requirement or condition of employment with

    Defendant, and Plaintiff’s sex and age did not in any way affect her job performance.

67. That during Plaintiff’s tenure of employment, she was victimized by the Defendant

    and/or its agents and employees in the following manner:

        a. Subjected to harassment and retaliation due to her age, which was condoned by

           the Defendant and

        b. Subjected to a harassing, retaliatory and hostile employment environment.

68. That all of the aforesaid conduct was made known to and complained of to supervisory

    personnel of the Defendant herein by the Plaintiff.

69. That, despite said complaints, such conduct continued unfettered and no effort was made

    by management or agents of the Defendant, to curtail or otherwise curb and prevent such

    discriminatory conduct.

70. The conduct by the Defendant’s employees had the purpose and/or effect of substantially

    interfering with the Plaintiff’s employment and/or creating a hostile and offensive

    employment environment.

71. Defendant had both actual and constructive notice that its employees were creating a

    hostile and offensive work environment for the Plaintiff.

72. Despite having notice of the conduct of its employees and supervisory personnel toward

    the Plaintiff, Defendant failed to take any remedial action.




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73. The conduct as set forth above by the Defendant’s employees and their failure to take

    remedial action for years constitutes a continuing violation of the ADEA.

74. As Plaintiff relayed to the EEOC in her Charge, she perceived that, as an older African-

    American female bringing complaints about the misconduct of Defendant she was being

    ignored and retaliated against by Defendant.

75. Defendant has not articulated any legitimate business reason to ignore Plaintiff’s

    complaints.



                  RETALIATION IN VIOLATION OF TITLE VII



76. Plaintiff alleges retaliation by Defendant as Plaintiff adopts by reference and incorporates

    paragraphs 6 through 41 as if fully set forth herein.

77. As a result of her activities to secure her federally protected rights to protest against

    discriminatory treatment subject to Title VII safeguards, Defendant retaliated against her.

78. Plaintiff’s complaints about Defendant’s retaliatory behavior to Defendant EEO and the

    IBEW union hardened Defendant’ adverse employment actions against her.



                                         COUNT IV

          RETALIATION IN VIOLATION OF SECTION 1983

79. Plaintiff alleges retaliation by Defendant as Plaintiff adopts by reference and incorporates

    paragraphs 6 through 41 as if fully set forth herein.




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   80. As a result of his activities to secure her federally protected rights to protest against

       discriminatory treatment subject to Section 1983 safeguards, Defendant retaliated against

       her.

                                    PRAYER FOR RELIEF



   81. As a result of Defendant’s illegal acts, Plaintiff was deprived of her right to be free from

       discrimination in the workplace.

   82. Plaintiff was seriously harmed, emotionally and financially, by Defendant’s

       discriminatory behavior directed towards her.

   83. The employment practices complained of above were discriminatory, intentional and

       malicious in violation of Title VII, Section 1983 and the ADEA.

   84. The employment practices complained of above were discriminatory, intentional,

       malicious and performed under “color of law” by individuals in positions of power and

       authority in a governmental entity in violation of 42 U.S. C. § 1983, as amended.



WHEREFOR, Plaintiff respectfully requests that this Honorable Court enter judgment in

Plaintiff’s favor and against Defendant as follows:



   a. Declares that the treatment of Plaintiff by Defendant violated Title VII of the Civil Rights

       Act of 1964, as amended;

   b. Declares that the acts, conduct, policies and practices of Defendant as applied to Plaintiff

       violated 42 U.S.C. § 1983, as amended;

   c. Declares that the treatment of Plaintiff by Defendant violated the ADEA, as amended;



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    d. Direct Defendant to make Plaintiff whole by restoring her to the Mechanical Foreman or

        some comparable Foreman position.

    e. Direct Defendant to provide appropriate earnings, benefits, and lost wages caused by

        Defendant’s malicious and illegal behavior;

    f. Award Plaintiff compensatory damages against the Defendant;

    g. Award Plaintiff reasonable attorney’s fees and costs, as provided by law; and

    h. Award Plaintiff such other equitable, injunctive and any other relief that the Court deems

        just and equitable to end the discrimination, fairly compensate Plaintiff and deter future

        discriminatory acts.



                                    JURY TRIAL DEMAND



Plaintiff requests a jury trial on all counts and claims raised by this Complaint.



                                                             Respectfully submitted,

August 16, 2018

                                                               /s/ Jill M. Willis

                                                              Attorney for Plaintiff




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                         EXHIBITS




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                          LIST OF EXHIBITS


A. IDHR CHARGE # 2016 CR 3465


B. EEOC CHARGE # 440-2018-01433


C. EEOC RIGHT TO SUE


D. IBEW LOCAL 134 GENERAL CHAIRMAN CORRESPONDENCE


   TO KEVIN McCANN, METRA CHIEF MECHANICAL OFFICER


E. EMAIL COMPLAINT TO ART OLSEN AND SHAWN BROWN


  RE CORNELL STAMPLEY PERFORMANCE ISSUES


F. TERMINATION OF PLAINTIFF




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                                   CERTIFICATE OF SERVICE



The undersigned Jill M. Willis certifies that on August 16, 2018, she caused to be served a copy

of the foregoing Plaintiff’s Complaint, in the above-captioned matter, to be filed with the Clerk

of the United States District Court for the Northern District of Illinois and served on the parties

of record, and on August 16, 2018 a copy of the Plaintiff’s Complaint, in the above-captioned

matter addressed to:

                               `


                                       James M. Derwinski
                                       Chief Executive Officer
                                       METRA
                                       547 West Jackson Blvd.
                                       Chicago, Illinois 60661




                                                                              /s/ Jill M. Willis

                                                                            Attorney for Plaintiff




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